                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


AMERICAN CIVIL LIBERTIES UNION OF
MASSACHUSETTS, INC.,

                  Plaintiff,
v.                                                  Civil Action No. 1:22-cv-10407-PBS

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT,


                  Defendant.


               DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS

          Defendant, U.S. Immigration and Customs Enforcement (“ICE”) by its attorney, Rachael

S. Rollins, United States Attorney for the District of Massachusetts, submits the following

statement of undisputed material facts in support of its Motion for Summary Judgment. ICE

provides the undisputed facts to set forth ICE’s search for documents and exemptions maintained

in this suit through the Declaration Fernando Pineiro, FOIA Director of the ICE Freedom of

Information Act Office (“Pinero Decl. ¶ “), and exhibits attached thereto.

ACLUM’S FOIA REQUEST AND ICE’S RESPONSE

          1.      Plaintiff submitted a FOIA request to ICE on January 31, 2022, seeking “[a]ny

and all guidance to ICE OPLA and/or OCC attorneys that is currently in effect.” Pinero Decl. ¶

5; Dkt. 1-1.

          2.      On March 16, 2022, Plaintiff filed the Complaint in this action. Pinero Decl. ¶ 6;

Dkt. 1.

          3.      On March 21, 2022, the ICE FOIA Office tasked the ICE Office of the Principal

Legal Advisor (“OPLA”) to conduct a search for responsive records. OPLA conducted searches
of the OPLA Boston Field Office and the OPLA Field Legal Operations (“FLO”) Office for

responsive records. The responsive records found were then sent to the ICE FOIA Office for

processing on April 25, 2022. Pinero Decl. ¶ 7.

         4.     On May 23, 2022, ICE made a production of responsive records to Plaintiff,

consisting of 613 pages subject to various FOIA Exemptions, including FOIA Exemptions

(b)(5), (b)(6), (b)(7)(C), and (b)(7)(E). Id. ¶ 8

         5.     On June 17, 2022, ICE made a second production of responsive records to

Plaintiff, consisting of 141 pages subject to various FOIA Exemptions, including FOIA

Exemptions (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E). Id. ¶ 9.

         6.     On November 16, 2022, upon litigation review, ICE made a supplemental re-

release of three pages of responsive records, lifting some FOIA Exemption (b)(5) withholdings

on each of the three pages.1 Id. ¶ 10.

DESCRIPTION OF THE RECORDS AT ISSUE

         7.     Plaintiff has agreed to challenge only the redactions pursuant to Exemptions

(b)(5) and (b)(7)(E) in 43 documents. Id. ¶ 12, Pineiro Decl. Ex. 2

         8.     All 43 documents at issue in this case were subject to partial withholding. Id. ¶

14.

         9.     The withheld portions of the emails and documents are intra-agency

communications between and among ICE attorneys. Id.

         10.    At the time of the emails and documents, including up to the present day, ICE

attorneys represent DHS in removal proceedings before the Executive Office for Immigration




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    Bates pages 2022-ICLI-00032 597, 598, and 674.

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Review (“EOIR”) across the country and are actively litigating on behalf of the government in

immigration courts nationwide. Id.

        11.       A complete description of the 43 documents identified by Plaintiff, and the bases

for the withholding of information in said documents, are detailed in ICE’s Vaughn Index. Id. ¶

15.

APPLICABLE FREEDOM OF INFORMATION ACT WITHHOLDINGS

FOIA Exemption (b)(5)

        12.       Exemption 5 of the FOIA allows the withholding of inter- or intra-agency records

that are normally privileged in the civil discovery context. The information that ICE has withheld

under FOIA Exemption (b)(5) is protected by the attorney work-product privilege. Id. ¶ 16.

        13.       All of the (b)(5) withholdings at issue are redactions of information exchanged

between and among ICE attorneys, in contemplation of ongoing immigration litigation before the

immigration courts. Id. ¶ 17.

        14.       All of the information withheld under Exemption (b)(5) is thus protected from

disclosure under the attorney work-product doctrine. Id.

        15.       The withheld information was prepared for the purpose of advancing DHS’s

position in active and pending litigation before the immigration courts and contains practice

pointers, legal strategies, legal analysis, legal arguments, and guidance on conducting that

litigation. Id.

        16.       Factual information and case summaries have not been withheld. Id.

FOIA Exemption (b)(7) Threshold

        17.       The FOIA, 5 U.S.C. § 552(b)(7), establishes a threshold requirement that to

withhold information on the basis of Exemption (b)(7), the records or information must be



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compiled for law enforcement purposes. The information for which FOIA Exemption (b)(7) has

been asserted in the instant matter satisfies this threshold requirement. Id. ¶ 18.

       18.     Pursuant to the Immigration and Nationality Act codified under Title 8 of the U.S.

Code, the Secretary of Homeland Security is charged with the administration and enforcement of

laws relating to the immigration and naturalization of non-citizens, subject to certain exceptions.

See 8 U.S.C. § 1103. Id.

       19.     ICE is the largest investigative arm of DHS and the second largest investigative

agency in the federal government. Created in 2003 through a merger of the investigative and

interior enforcement elements of the U.S. Customs Service and the Immigration and

Naturalization Service, ICE now has more than 20,000 employees and offices in all 50 states and

48 foreign countries. ICE is responsible for enforcing the nation’s immigration laws and

identifying and eliminating vulnerabilities within the nation’s borders. Id.

       20.     The Office of the Principal Legal Advisor (“OPLA”) is the largest legal program

in DHS, with over 1,250 attorneys and 290 support personnel. Id. ¶ 19.

       21.     By statute, OPLA serves as the exclusive representative of DHS in immigration

removal proceedings before EOIR, litigating all removal cases including those against criminal

non-citizens, terrorists, and human rights abusers. Id.

       22.     OPLA also provides a full range of legal services to ICE programs and offices.

OPLA provides legal advice and prudential counsel to ICE personnel on their customs, criminal,

and immigration law enforcement authorities, the Freedom of Information Act and Privacy Act,

ethics, liability under the Federal Tort Claims Act, and a range of administrative law issues, such

as contract, fiscal, and employment law. OPLA attorneys provide essential support to the




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Department of Justice in the prosecution of ICE cases and in the defense of ICE’s authorities in

federal court. Id.

        23.     In addition to its headquarters in Washington, D.C., OPLA has 25 field locations

with a presence in more than 60 offices throughout the United States. Id.

        24.     The ICE information at issue in this case was compiled by ICE to assist in the

conduct of removal proceedings before EOIR and relates to ICE’s obligation to enforce the

immigration laws of the United States by investigating, detaining, and pursing removal

proceedings against non-U.S. individuals who may be illegally present in the United States. Id. ¶

20.

        25.     Therefore, all of the ICE information responsive to Plaintiffs’ FOIA request

withheld under Exemption (b)(7)(E) pertains to the detention and removal of individuals who

may be illegally present in the United States, was compiled for law enforcement purposes, and

meets the threshold requirement of FOIA Exemption (b)(7). Id.

FOIA Exemption (b)(7)(E)

        26.     FOIA Exemption (b)(7)(E), 5 U.S.C. §552(b)(7)(E), protects from disclosure

records complied for law enforcement purposes, the release of which would disclose techniques

and/or procedures for law enforcement investigations or prosecutions, or would disclose

guidelines for law enforcement investigations or prosecutions if such disclosure could reasonably

be expected to risk circumvention of the law. Id. ¶ 21.

        27.     Accordingly, ICE applied FOIA Exemption (b)(7)(E) to protect from disclosure

information related to internal agency group email addresses, Interpol Notices, and screenshots,

instructions, and a database code related to the ICE OPLA internal database, PLAnet. Disclosure




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of this information could reveal law enforcement techniques, procedures, and/or guidelines

which could reasonably be expected to risk circumvention of the law. Id. ¶ 22.

       28.     ICE officers, Special Agents, and OPLA attorneys use the internal group email

inboxes to conduct their official job duties. These email inboxes contain and facilitate

communications amongst ICE employees and are used advance the ICE mission, which is to

protect the United States from the cross-border crime and illegal immigration that threatens

national security and public safety. Id. ¶ 23.

       29.     The PLAnet database is a case management system used primarily by OPLA

attorneys to manage their immigration cases. The ICE Office of Enforcement and Removal

Operations (“ERO”) is responsible for identifying non-citizens illegally present in the United

States, apprehending them and managing them while they are in custody, and removing them

from the United States. ERO Officers also use PLAnet to stay abreast of changes in custody

decisions for a particular non-citizen and to help with the execution of final removal orders. The

basic function of the system is to provide attorneys and ERO Officers with comprehensive

information on cases being litigated under the Immigration and Nationality Act in immigration

court and federal court. Id. ¶ 24.

       30.     The disclosure of internal group email inbox addresses and PLAnet information

could aid unauthorized parties in gaining improper access to law enforcement databases and

systems and assist in the unauthorized party’s navigation of those law enforcement databases and

systems. Id. ¶ 25.

       31.     Knowing the database structure, how to navigate the system, or internal paths and

codes could reveal sensitive information that would allow a hacker to access or manipulate the

agency’s database or systems. Id.



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        32.      Release of the internal email inboxes would increase the chance that a bad actor

could harm the agency by attempting to hack ICE systems, such as through the use of phishing

scams, or by attacking ICE systems, such as through a brute force attack. Id.

        33.      Disclosure of these techniques and practices could permit those seeking to violate

or circumvent the law to take proactive steps to counter operational and investigative actions

taken by ICE during enforcement operations. Id.

        34.      Further, how law enforcement officers or OPLA attorneys access and navigate

databases, as well as the internal group email addresses, are law enforcement techniques and

procedures that are not commonly known. Id. ¶ 26.

        35.      The disclosure of this information serves no public benefit and would not assist

the public in understanding how the agency is carrying out its statutory responsibilities. Id.

        36.      The release of law enforcement sensitive information regarding INTERPOL

Notices and the law enforcement processes and procedures related to use of those Notices in

removal proceedings before EOIR could reasonably be expected to risk circumvention of the

law. Id. ¶ 27.

        37.      INTERPOL Notices are international alerts circulated by Interpol to communicate

information from police in a member state to their counterparts around the world about crimes,

criminals, and threats. Id.

        38.      Disclosure of law enforcement sensitive techniques and procedures regarding the

use of INTERPOL Notices in removal proceedings, including how to verify the Notices, would

reveal law enforcement techniques, procedures, or guidelines which could reasonably be

expected to risk circumvention of the law. Id.




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        39.     Thus, disclosure of these techniques could allow subjects of the INTERPOL

Notices to violate or circumvent the law by taking proactive steps to counter operational and

investigative actions taken by ICE during enforcement operations. Id.

        40.     This information is not widely known. Disclosure serves no public benefit and

would not assist the public in understanding how the agency is carrying out its statutory

responsibilities. Id.

FOIA IMPROVEMENT ACT

        41.     The FOIA Improvement Act of 2016 codified the Department of Justice’s

foreseeable harm standard, which ICE has been following for years. ICE FOIA only withholds

information when the agency reasonably foresees that disclosure would harm an interest

protected by an exemption or disclosure is prohibited by law. Id. ¶ 28.

        42.     In this case, with respect to Exemption (b)(5), the agency reasonably foresees that

disclosure would harm the attorney work-product privilege, which protects the adversarial trial

process by insulating the attorney’s preparation from scrutiny. Id. ¶ 29.

        43.     The identifiable and foreseeable harm in disclosing this information would be its

chilling effect on the ability of agency attorneys to effectively communicate with each other

regarding how to prepare to represent the agency in litigation. Id.

        44.     Further, disclosure of these records also would inhibit the candid discussion of

issues between employees, which would hinder the ability of the OPLA attorneys to be fully

informed about legal issues arising before the immigration courts, as well as inhibit their ability

to assess any future litigation risks. Id.

        45.     In this case, with respect to Exemption (b)(7)(E), the agency reasonably foresees

that disclosure would: 1) cause harm by disclosing law enforcement sensitive database



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screenshots, codes, instructions, and internal group email inboxes that would allow bad actors to

access or manipulate ICE systems; (2) cause harm by disclosing law enforcement sensitive

techniques and procedures regarding the use of INTERPOL Notices in removal proceedings,

including how to verify the Notices. Id. ¶ 30.

SEGREGABILITY

       46.     5 U.S.C. § 552(b) requires that “[a]ny reasonably segregable portion of a record

shall be provided to any person requesting such record after deletion of the portions which are

exempt.” Id. ¶ 31.

       47.     ICE conducted a line-by-line review to identify information exempt from

disclosure or for which a discretionary waiver of exemption could be applied. Id. ¶ 32.

       48.     With respect to the records that were released, all information not exempted from

disclosure pursuant to the FOIA exemptions specified above was correctly segregated and non-

exempt portions were released. Id. ¶ 33.

       49.     ICE did not withhold any non-exempt information on the grounds that it was

non-segregable. Id.

                                                 Respectfully submitted,

                                                 RACHAEL S. ROLLINS
                                                 United States Attorney


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